             CASE 0:19-cr-00101-SRN-ECW Doc. 27 Filed 12/30/20 Page 1 of 1

                                                                                   RECE$VED
                             T]NITED STATES DISTRICT COURT                                  BV MAII.
                            FOR TIIE DISTRICT OF MINNESOTA
                                                                                    080 s 0 ?028
                                                                         CLERK,     U.S",    DISTHICT COURI
United States ofAmerica
                                                                                     $T PAUI., MN
v.                                                     Case No. 0-CR-19-101
Aaron Rhy Broussard                                    Honorable Judge Richard-Nelson
               DEFENDAI\T




                              MOTION TO PROCEED PRO SE
                          AND WITHDRAW CURRENT COUNSEL


        AND NOW comes the defendant, Aaron Rhy Broussard, by and through pro pursuant to Faretta
v. California, 422 U.S. 806 (1975), hereby submits ooMotion to proceed pro se ondwithdraw current
coltnsel".




                                                                          Respectfully Submitted:




                                                                                                   , pro se
                                                                                             sPN #13200
                                                                      13880 Business Center Drive
                                                                            Elk River" MN 55330
                                                                                        763-765-3800




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